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                         AMENDMENT TO THE INFORMATION SERVICES AGREEMENT

              This AMENDMENT TO THE INFORMATION SERVICES AGREEMENT (this "Agreement")
              is entered into effective as of September 30, 2016 ("Execution Date") by and among Apple Inc.,
              Apple Distribution International ("ADI"), and Apple South Asia Pte. Ltd. ("ASA" and
              collectively with Apple Inc., ADI and their respective subsidiaries, "Apple"), on the one hand,
              and Google Inc., Google Ireland Limited ("GIL"), and Google Asia Pacific Pte. Ltd. ("GAP"
              and collectively with Google Inc., GIL and their respective subsidiaries, "Google"), on the other
              hand, amending that certain Information Services Agreement dated December 20, 2002 between
              Apple, Inc. and Google Inc. (as amended or otherwise modified prior to the Execution Date and
              as amended by this Agreement, the "ISA Agreement"). The provisions of this Agreement are
              effective as of the Execution Date, and the remaining provisions of the ISA Agreement remain
              unchanged and in full force and effect.


              1.    Use and Implementation of Google Services in Apple Software

              (a)     Safari (Web Browser Software)

              Apple will pre-set and use the Services as the Default search service for Search Queries in
              Apple's web browser software (e.g., Safari or successor versions) designed for use on (i) one or
              more of the following Apple operating systems: iOS, watchOS, tvOS, macOS or any other
              operating system software made generally available by Apple during the Term, or (ii) the
              Microsoft Windows operating system (such web browser software, the "Web Browser
              Software"). During the Term, Apple's use of the Services as Default in the Web Browser
              Software will remain substantially similar to its use (including, without limitation, vis-a-vis other
              providers of internet services) as of the Execution Date of this Agreement (such use, the
              "Permissible Software Default Use").

              Subject to the Permissible Software Default Use, Apple shall not be limited in its ability to alter,
              modify and innovate its Web Browser Software,


              "Default" means the Services will automatically be used for responding to Search Queries
              initiated from the Web Browser Software, unless the End User selects a different third-party
              search service.




              Confidential - Subject to Party NDA




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              5.     CEO Check-Ins

              Agreement Purpose

              Both parties agree they are entering into this Agreement for the following purposes (collectively,
              the "Agreement Purpose"): (1) to create tangible and intangible value for each party, (2) to
              increase the revenue performance of each party, and (3) to improve the search experience and
              performance of the Services, the Spotlight Services and the Siri Services for End Users on Apple
              products.

              Annual CEO Check-In

              At the end of each contract year, or earlier if reasonably requested by a party, Chief Executive
              Officers from each party will meet to review and discuss in good faith the performance of the
              ISA Agreement vis-a-vis the Agreement Purpose, and, upon request, to confirm each party's
              compliance with the terms of the ISA Agreement ("Annual CEO Check-In"). The parties
              mutually agree to address and resolve in good faith any issues identified during the Annual CEO
              Check-In that are interfering or have interfered with the Agreement Purpose. If a particular issue
              is under the reasonable control of Apple, then Apple will have primary responsibility for
              addressing and resolving such issue in good faith, with input from Google. If a particular issue is
              under the reasonable control of Google, then Google will have primary responsibility for
              addressing and resolving in good faith such issue, with input from Apple. The parties will have
              joint responsibility for addressing and resolving in good faith any other issues identified during
              the Annual CEO Check-Ins that are not under the reasonable control of one party.




              6.   Limitation of Liability




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              Confidential - Subject to Party NDA




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                                                                                                      EXHIBIT 1492-008
